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Fu__r:o _

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT of FLORIDA JACKSONVILI;.YE,I;),{YI,SJQN …2 0
Case:

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NEIL ANDRE BUTLER ' ‘ "ST" 'C'
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vs. Complaint for
STATE OF FLORIDA

& Deprivation of Human Rights
JACKSONVILLE SHERIFF OFFICE
Defendant

Complaint

Defendant, NEILANDRE BUTLER, sues plaintiff . City of Jacksonville and alleges:

~ The U.S. Govemment is the basis of jurisdiction in this action.

' The cause of action is under 42 U.S.C. 1983.

¢ NEILANDRE BUTLER, is a trust established for the benefit of the beneficiary, Neil who
is a living man.

' Neil is a living man, non-domestic, without the United States.

~ On June 26, 2012, representatives of jacksonville §heriff (_)ffice, herein referred~to as
JSO, came into the Nei|’s place of business, and arrested him.

- Then JSO arrested Neil without a warrant, signed by ajudge.

' Then Neil suffered great shame and indignity, during this false arrest, as JSO handcuffed
and paraded, Neil around the mall, in handcuffs.

' The JSO officers, then imprisoned Neil for a period of eight days, which deprived Neil of
his Private liberties.

- Neil, at no time, breached any public, or private trust.

° Neil has the right to protect himself against harm.

' Having no legal basis to proceed to prosecute, the State Attomey, took no action to
attempt to prosecute.

' JSO breached public trust, and their Oaths to the Constitution.

' As a result of JSO's actions, Neil was unable to fulfill his private business contract, and
therefore lost out on financial gain, which he might otherwise have received, had JSO
honored their Oaths to the Constitution.

' The defendant has filed claim with Risk Management, (claim # 1420 01 882), in an
attempt to handle the matter, of compensation for injury, without it becoming a public
controversy.

v TAKE JUDICIAL NOTlCE, Defendant has attached 1968 F|orida Constitution,
Dec|aration of Rights (Exhibit A), which is in place to protect the rights, of the private
man. Plaintiff violated Article l:

' Section 2 Basic Rights

- Section 19 Cost. Neil paid with the cost of his freedom and liberties, without ajudgment
of conviction.

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' Section 12 Searches and seizures. Nei|’s body was seized without a warrant.
' Plaintiff refuses to accept liability for the injury they caused the defendant.
' The defendant has tried to handle this matter privately, by noticing agents and principals,
and giving them an opportunity to cure any errors.
¢ The defendant has exhausted his administrative remedies, and is left no option, but to
seek a public means of redress.
' TAKE JUDICIAL NOTICE, Case law sets precedent for unlawful detainment at $75,000
an hour, [Trezevant v. City Of Tampal.
WHEREFORE plaintiff demands judgment for damages against the defendant. in the amount
fourteen million, four hundred thousand dollars, ($ |4,400,000), and to cover all current legal
compensation in the amount of $10,000, payable to trust, Neil Andre But|er.
i Understand that i am swearing affirming under oath to the truthfulness of the claims made in
this petition and that the punishment for making false statements include fines and/or
imprisonment.
All rights reserved,

M /`// Non-domestic/
BY: F‘/ j /-/ ~ . w/ out United States
`./ , '
Neil
Private owner

Authorized Representative

 

State of FLORIDA

County of Duva|

Before me this day personally appeared B uH:.¢- ; N c \` \ n who. being duly affiant swom
to (or aflinned) and subscribed before me this 8 H‘ day of St: e&- bar . 20 lb , who is Ersonally
known to me or produced a N/A as identification

 

 

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1 ‘ EthREs: am 12. 2020

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Exhibit A

